Case 2:03-cv-02946-.]DB-dkv Document 53 Filed 05/05/05 Page 1 of 2 Page|D 64
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IN THE UNITED STATES DISTRICT coURT 05 w c ._j, _r_ w H_
FOR THE wESTERN DISTRICT 0F TENNESSEE " ` 'J 71 - l 2

 

 

WESTERN DIVISION
CLEMMIE SALES
Plaintiif,
NO. 03-2946 BP
V.
FAYETTE COUNTY et al;
Defendant.

 

ORDER GRANTING EXTENSION

lt is hereby ORDERED, ADJUDGED and DECREED that Plaintiffs Motion for
Extension of Time to Rcspond is Granted. Plajntiif has until May 9, 2005 to respond to

Defendant’s Motion to Strike the Dcposition, Statements and Testimony of Thomas Minor and

Other Mischaracterized Statements by the Plaintiii`

yca
IT ls 30 0RDBRED this ’7/ day of__ 7/?/2@? 2005.

/@»Mr.¢' Y. .Zw@»z/r
MELBR£EN D\M¢, z¢. ves¢,vb

United States Dist:ict£ourt Judge
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With Hme 58 and/or ?Sla) FRCP on "

 

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This notice confirms a copy ofthe document docketed as number 53 in
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Brandon O. Gibson

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Randall Blake Tolley

LAW OFFICE OF RANDALL B. TOLLEY
242 Poplar Ave.

Memphis7 TN 38103

J ames I. Pentecost

PENTECOST GLENN & RUDD, PLLC
106 Stonebridge Blvd.

Jackson7 TN 38305

Honorable J. Breen
US DISTRICT COURT

